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Pro Se l (Rev. 12/16) Complaint for a Civ il Case



                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                             District of Delaware

                                                                    Civil Division


                                                                           )       Case No.
                                                                                                                  19-523
                            Jay Brodsky
                                                                           )                      (to be/W ed in by the Clerk 's Office)
                                                                           )
                             P laintiff(s)                                 )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
                                                                           )       Jury Trial: (check one)    0    Yes 0No
please write "see attached " in the space and attach an additional         )
page with the full list of names.)                                         )
                                   -v-                                     )
             J.P. Morgan Chase Bank, N.A.                                  )
                 Broadspire Services, Inc.                                 )
        National Fire Insurance Co. Pittsburgh, PA                         )
               Stahl Real Estate Company
                              D efendant(s)
(Write the f ull name of each def endant who is being sued Jj the
                                                                           )
                                                                           )
                                                                                                                                       -"" c:::::,
                                                                                                                                           c .CI



names ofall the defendants cannot fit in the space above, please           )
write "see attached" in the space and attach an additional p age           )
with the f ull list ofnames.)                                                                                                          c.n


                                                    COMPLAINT FOR A CIVIL CASE


L          The Parties to This Complaint
           A.         The Plaintiff(s)

                      Prov ide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name                                  Jay Brodsky
                                 Street Address                        240 East Shore Road, #444

                                 City and County                       Great Neck          Nassau County
                                 State and Zip Code                    New York         11023

                                 Telephone Number                      (973) 568-1666
                                 E-mail Address                        demcoi nterexport@yahoo.com


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.


                                                                                                                                                     Page l of 5
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                     Defendant No. 1
                                Name                        J.P. Mor an Chase Bank NA
                                Job or Title (if known)     Corporation Trust Center
                                Street Address              1209 Orange Street
                                City and County             Wilmin ton       New Castle Coun
                                State and Zip Code          Delaware     19801
                                Telephone Number
                                E-mail Address (ifknown)


                     Defendant No. 2
                                Name                        Broadspire Services
                                Job or Title (if known)
                                Street Address              1391 NW 136th Avenue
                                City and County             Sunrise
                                State and Zip Code          Florida. 33323
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                        National Fire Insurance Co. of Pittsburgh , PA
                                Job or Title (if known)
                                Street Address              175 Water Street 18th Floor
                                City and County             New York
                                State and Zip Code          New York         10038
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name                        Stahl Real Estate Com an
                                Job or Title (if known)
                                 Street Address             277 Park Avenue, 47th
                                 City and County            New York
                                 State and Zip Code         New York. 10172
                                 Telephone Number
                                E-mail Address (if/mown)



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IL        Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power) . Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75 ,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  0Federal question                                ~ Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       See attached addendum




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name) Jay Brodsky                                   , is a citizen of the
                                                                   -----------------
                                           State of (name) New York


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                               , is incorporated
                                                                    ----------------
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                               , is a citizen of
                                                                      ----------------
                                           the State of (name)                                               0 r is a citizen of
                                           (foreign nation)


                                                                                                                           Page 3 of 5
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                                 b.         If the defendant is a corporation
                                            The defendant,   (name)   J .P. Morgan Chase Bank, N.A.             , is incorpo rated under
                                            the laws of the State of (name)     Delaware                                  , and has its
                                                                                ~~~~- - - - - - - - - - -
                                            principal place of business in the State of (name)       New York
                                                                                                 --------------
                                            O r is incorporated under the laws of (foreign nation)
                                            and has its principal place of business in (name)

                                 (If more than one def endant is named in the complaint, attach an additional page providing the
                                 same inf ormation fo r each additional defendant.)

                      3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain) :
                                  $75,001.00




ill.       Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          See Attached addendum




IV.        Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.
          See attached addendum




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1 ) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have ev identiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11 .

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk' s Office may result
                     in the dismissal of my case.

                     Date of signing:                                                  ----
                     Signature of Plaintiff
                     Printed Name of Plaintiff     Jay Brads y


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Num?er
                     E-mail Address




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